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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION



LISA SHERMAN,

      Plaintiff,
vs.                                                 Case No. 21-cv-00063
                                                    Hon. Jane M. Beckering
SPEEDWAY, LLC, a foreign Limited Liability,
Company, operating in Michigan,

      Defendant.



 DRIGGERS, SCHULTZ & HERBST                MILLER, CANFIELD, PADDOCK
 By: MARK K. SCHWARTZ (P48058)             and STONE, P.L.C.
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                              NOTICE OF APPEAL


      Notice is hereby given that LISA SHERMAN, Plaintiff in the above referenced


case, hereby Appeals to the United States Circuit Court for the Sixth Circuit from the


Judgment dated May 23, 2022 [ECF 52], the Order Granting Defendant’s Motion for
Case 1:21-cv-00063-JMB-RSK ECF No. 55, PageID.772 Filed 06/22/22 Page 2 of 2




Summary Judgment entered in this action on May 23, 2022 [ECF 51], and from all


other rulings, decisions, and orders adverse to Plaintiff-Appellant.


                                         Respectfully Submitted,

                                         DRIGGERS, SCHULTZ & HERBST

                                         By:/s/ Mark Kelley Schwartz
                                         MARK KELLEY SCHWARTZ (P48058)
                                         Attorney for Plaintiff
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DATED: June 22, 2022



                           CERTIFICATE OF SERVICE

       I hereby certify that on June 22, 2022, I electronically filed the foregoing papers
with the Clerk of the Court using the ECF system, which will send notification of
such filing to all counsel of record.

                                                /s/ Mark K. Schwartz
                                                Driggers, Schultz & Herbst




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